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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

LULAC, et. al.,                                  §
                                                 §
      Plaintiffs                                 §
                                                 §
Eddie Bernice Johnson, Sheila Jackson-Lee        §
     Alexander Green, and Jasmine                §
           Crockett                              §
                                                 §
      Intervenors                                §
                                                 §
v.                                               §   Case No.: 3-21-CV-00259-DCG-
                                                 §        JES-JVB [Lead Case]
GREG ABBOTT, in his official capacity            §
    As Governor of Texas, et. al.                §
                                                 §
      Defendants

 INTERVENORS ALEXANDER GREEN AND JASMINE CROCKETT REQUEST TO
      CLARIFY THE COURT’S NOTICE TO INTERVENOR PLAINTIFFS

       On May 16, 2025, this Court issued a Notice to Intervenors Plaintiffs regarding CD18. The

Court stated in relevant part the following

“The Court therefore NOTIFIES the Intervenors that the Court will NOT permit them to pursue

claims at trial that the Court has dismissed.” Intervenors have not only intended to comply with

this order but have done so continuously. We regret that our filing has generated this important

discussion. We appreciate the Court's notice , respect the court’s authority and want to assure

the Court we understand the ruling dismissing the claim involving Congressional District 18,

and always intended to comply with it. The brief noted the Intervenors were and are fully aware

of the Courts dismissal of the claims of Plaintiff Intervenors Eddie Bernice Johnson and Sheila

Jackson Lee. Order Granting Mot. Dismiss, ECF No. 972. We are fully aware that it would not be
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a good strategy to ask a panel of judges to rule in our favor on claims already dismissed by that

panel.

         In addition, we would like to point out that the brief made it clear that it was being

submitted in behalf of Congressman Alexander Green of the 9th Congressional District and

Congresswoman Jasmine Crockett of the 30th Congressional District only, and no one else. The

Intervenors further noted the Court’s denial of Intervenors Motion to Substitute. Id. The

Intervenors understood this to mean that it had no remaining lives claims in the 18th Congressional

District. This Panel requested that the Plaintiff Parties inform it of the live claims being made by

each plaintiff group. Intervenors that this document would govern what specific districts were at

issue, even though the court would no doubt receive additional evidence to support these

contentions as permitted by law. In that document, Intervenors informed the Court that its live

claims were respecting Congressional Districts 9 and 30. It did not mention Congressional District

18. Chart of Plaintiff’s Claims, ECF 986.

         The inclusion of the discussion or any information about Congressional District 18 or other

districts was not intended to be part of a claim based directly on the drawing of any such

district. We regret if this was not clear in our submission, but wish to assure the Court we

understand that our claims directly involve Congressional Districts 9 and 30. As mentioned in the

introduction, we indicate that Congresswomen Johnson and Jackson Lee are no longer intervenors

because they are deceased, and that the brief is submitted by Congressional Intervenors who are

described as Congressman Alexander Green and Congresswoman Jasmine Crockett. It is further

imperative to note the document illustrating the different claims of the parties and the districts each

party is challenging show very clearly that the Intervenors are only challenging Congressional

District 9 and Congressional District 30 as current claims in the litigation, and that the evidence
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regarding Congressional District 18 or any other district can be proffered only as evidence to

support a claim of discrimination or gerrymandering involving Congressional Districts 9 or 30.

       Pursuant to our understanding of the applicable law that seems to be shared by many other

parties, that evidence as to what occurred in other districts is frequently relevant in these cases. In

this case there were voters moved between the 9th and 18th and the Congresspersons were initially

paired. Even the State’s actions regarding Congressional District 18 make it apparent that they

too understand matters relating to it are still an issue. Bethune-Hill v. Virginia State Bd. of

Elections, 580 U.S. 178 (2017). Presenting evidence about neighboring districts is sometimes

necessary in both racial gerrymandering and intentional discrimination cases and even statewide

information has sometimes been used to substantiate specific district claims. This evidence can

help establish that race was the predominant factor in drawing district lines or help establish

important motivations.

       To be clear, the inclusion of any information about Congressional District 18 is not

intended to reprise a claim based on Congressional District 18, but instead is submitted for proper

evidentiary purposes. We respect the Court and its decisions and were in no way attempting to add

an additional claim. However, Intervenors further note that any remedy to repair the intentional

discrimination in Congressional District 9 will necessarily impact the boundaries of Congressional

District 18.


                                                       Respectfully Submitted,

                                                       By: /s/ Gary Bledsoe_________________
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                                                                         and Jasmine Crockett


                               CERTIFICATE OF SERVICE
I hereby certify that on May 19, 2025, this motion was served via CM/ECF on all counsel of
record.
/s/ Nickolas A. Spencer
